                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

CHRISTOPHER M. LAWSON,                              )
                                                    )
               Petitioner,                          )
                                                    )
v.                                                  )       Nos.   3:14-CR-2-RLJ-CCS-14
                                                    )              3:16-CV-372-RLJ
UNITED STATES OF AMERICA,                           )
                                                    )
               Respondent.                          )


                                            ORDER

        On June 23, 2016, Petitioner filed a motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255 [Doc. 1018]. 1 The petition challenges the propriety of his career

offender designation under Section 4B1.1 of the United States Sentencing Guidelines in light of

the Supreme Court’s decision in Johnson v. United States, 135 S. Ct. 2551 (2015) [Id.]. The

request relies on Pawlak v. United States—in which the Sixth Circuit cited Johnson’s

invalidation of the Armed Career Criminal Act’s (“ACCA”) residual clause as the basis for

invalidating Section 4B1.2(a)(2)’s parallel provision, 822 F.3d 902, 911 (6th Cir. 2016) [Id.

(suggesting his Tennessee aggravated burglary conviction is no longer a crime of violence)].

        On August 10, 2016, the United States responded with the suggestion that Petitioner’s

entitlement to collateral relief depends on whether or not Johnson’s impact on the Guidelines has

been made retroactively applicable to cases raised in the context of collateral review [Doc. 1030

p. 2]. Noting that the Supreme Court has agreed to address this very issue next term in Beckles v.


1
        On February 11, 2016, Federal Defender Services of Eastern Tennessee (“FDSET”) was
appointed for the limited purpose of reviewing the case to determine whether or not Petitioner is
eligible for collateral relief based on Johnson. See E.D. Tenn. SO-16-02 (Feb. 11, 2016).
Consistent with that appointment, FDSET filed the instant petition [Doc. 1018]. Petitioner
followed that filing with a pro se petition asserting the same claim [Doc. 1019].


     Case 3:14-cr-00002-KAC-DCP          Document 1039        Filed 11/17/16     Page 1 of 3
                                        PageID #: 4321
United States, No. 15-8544, 2016 WL 1029080 (U.S. June 27, 2016), the United States requests

that the Court stay its resolution of the instant petition pending that decision [Id. at 2–3].

       In a recent published opinion, the Sixth Circuit recognized that “it is not clear whether to

treat Pawlak as a new rule that the Supreme Court has not yet made retroactive [to cases on

collateral review] or as a rule dictated by Johnson that the Supreme Court has made retroactive.”

In re Embry, No. 16-5447, 2016 WL 4056056, at *1 (6th Cir. July 29, 2016). While district

courts are generally responsible for deciding, in the first instance, whether “Pawlak is a new rule

or not,” Id. at *4, multiple Sixth Circuit opinions have endorsed holding petitions similar to the

instant one “in abeyance pending the Supreme Court’s decision in Beckles,” Id. at *4; see also In

re Patrick, No. 16-5353, 2016 WL 4254929, at *4 (6th Cir. Aug. 12, 2016). The justification for

doing so is that, “[a]fter . . . [Beckles], the district courts will be well positioned to handle

[Johnson-based challenges to the Guidelines] fairly and efficiently.” In re Embry, 2016 WL

4056056, at *4. The propriety of such a stay is further reinforced by the fact that at least two

panels from the Sixth Circuit have adopted contrasting predictions for what the Beckles decision

will hold. Compare Id. at *4 (“If pressed to decide the question now, we would lean in favor of

saying that Pawlak . . . . rests on a new rule of constitutional law that the Supreme Court has not

recognized, much less made retroactive on collateral review.”), with In re Patrick, 2016 WL

4254929, at *3 (“The Supreme Court’s rationale in Welch for finding Johnson retroactive [in the

ACCA context] applies equally to the Guidelines.”).

       For the reasons discussed, the Court agrees that issuance of a stay is appropriate under the

circumstances. Accordingly, United States’ request [Doc. 1030] is GRANTED and the action

[E.D. Tenn. Case No. 3:16-CV-372-RLJ] is STAYED pending the Supreme Court’s decision in



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   Case 3:14-cr-00002-KAC-DCP              Document 1039          Filed 11/17/16      Page 2 of 3
                                          PageID #: 4322
Beckles. The parties are DIRECTED to file a joint status report within thirty (30) days of that

decision.

              IT IS SO ORDERED.

                                                          ENTER:



                                                                 s/ Leon Jordan
                                                           United States District Judge




                                              3


   Case 3:14-cr-00002-KAC-DCP           Document 1039       Filed 11/17/16     Page 3 of 3
                                       PageID #: 4323
